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   Of Attorneys for Defendant City of Portland



                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

   UNITED STATES OF AMERICA,                           Case No. 3:12-cv-02265-SI

                 Plaintiff,
                                                       JOINT MOTION FOR ORDER SETTING
          v.                                           AGENDA FOR FAIRNESS HEARING
   CITY OF PORTLAND,

                 Defendant.




          The City of Portland (City), the United States of America (USA), Intervenor Portland

   Police Association (PPA), Enhanced Amicus Curiae Albina Ministerial Alliance Coalition for

   Justice and Police Reform (AMAC), and Amicus Curiae Mental Health Alliance (MHA), jointly

   move the Court to set the following agenda for the Fairness Hearing on the Unopposed Motion to

   Amend the Settlement Agreement set for Thursday, November 30, 2023, at 9:00 a.m., in

Page 1 – JOINT MOTION FOR ORDER SETTING AGENDA FOR FAIRNESS AGENDA
                                       PORTLAND CITY ATTORNEY’S OFFICE
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   Portland, Oregon, Courtroom 15B, before the Honorable Judge Michael H. Simon (Dkt. 394).



         9:00 a.m.         Court’s Introductory Remarks                     (10 minutes)

         9:10 a.m.         USA Remarks                                      (10 minutes)

         9:20 a.m.         City Remarks                                     (10 minutes)

         9:30 a.m.         PPA Remarks                                      (10 minutes)

         9:40 a.m.         AMAC Remarks                                     (10 minutes)

         9:50 a.m.         MHA Remarks                                      (10 minutes)

         10:00 a.m.        COCL Remarks                                     (10 minutes)

         10:10 a.m.        PCCEP Remarks                                    (10 minutes)

         10:20 a.m.        Break                                            (15 minutes)

         10:35 a.m.        Public Remarks                                   (2 hours)

         12:35 p.m.        Lunch                                            (1 hour)

         1:35 p.m.         Public Remarks                                   (2 hours)

         3:35 p.m.         Court’s closing remarks                          (15 minutes)

         3:50 p.m.         Adjourn



   If the allotted time is insufficient to allow the Court to receive oral remarks from members of the

   public at the Fairness Hearing, the Parties defer to the Court’s view on whether, in that case, to

   take additional oral remarks at the end of the day or via written and/or video-recorded statements

   submitted to the Court within a reasonable time after the Hearing.




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   Respectfully submitted on 28th day of November, 2023,

    FOR THE CITY OF PORTLAND:

    /s/ Robert Taylor                                 /s/ Heidi Brown
    ROBERT TAYLOR                                     HEIDI BROWN
    City Attorney                                     Chief Deputy City Attorney


    /s/ Sarah Ames                                    /s/ Lisa Rogers
    SARAH AMES                                        LISA ROGERS
    Deputy City Attorney                              Deputy City Attorney




    FOR THE UNITED STATES OF AMERICA:

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    United States Attorney                            Assistant Attorney General
    District of Oregon                                Civil Rights Division

                                                      STEVEN H. ROSENBAUM
                                                      Chief, Special Litigation Section

                                                      /s/ Laura L. Cowall
                                                      LAURA L. COWALL
                                                      Deputy Chief

                                                      /s/ R. Jonas Geissler
                                                      R. JONAS GEISSLER
                                                      Trial Attorney

                                                      /s/ Jared D. Hager
                                                      JARED D. HAGER
                                                      Trial Attorney
                                                      /s/ Amy Senier
                                                      AMY SENIER
                                                      Trial Attorney




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    FOR THE PORTLAND POLICE ASSOCIATION

    /s/ Anil S. Karia
    ANIL S. KARIA
    Attorney for PPA




    FOR THE ALBINA MINISTERIAL ALLIANCE COALITION FOR JUSTICE AND
    POLICE REFORM:

    /s/ J. Ashlee Albies                           /s/ Kristen Chambers
    J. ASHLEE ALBIES                               KRISTEN CHAMBERS
    Attorney for AMAC                              Attorney for AMAC



    FOR THE MENTAL HEALTH ALLIANCE:

    /s/ Juan Chavez                                /s/ Franz Bruggemeier
    JUAN CHAVEZ                                    FRANZ BRUGGEMEIER
    Attorney for MHA                               Attorney for MHA

    /s/ Amanda Lamb
    AMANDA LAMB
    Attorney for MHA




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